                                           Case 4:19-cv-07966-JST Document 9 Filed 12/09/19 Page 1 of 1




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ABANTE ROOTER AND PLUMBING                     Case No.19-cv-07966-JST
                                         INC,
                                   8                   Plaintiff,                       CLERK'S NOTICE SETTING CASE
                                   9                                                    MANAGEMENT CONFERENCE
                                                v.
                                  10                                                    Re: Dkt. No. 8
                                         UNLOCKED BUSINESS STRATEGIES,
                                  11     INC.,
                                                       Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          YOU ARE NOTIFIED THAT a Case Management Conference is set for March 31, 2020

                                  14   at 2:00 P.M. before the Honorable JON S. TIGAR. The Joint Case Management Conference

                                  15   Statement is due March 24, 2020 by 5:00 PM.

                                  16          Please report to Courtroom 6, 2nd Floor, Ronald Dellums Federal Building, 1301 Clay

                                  17   Street, Oakland, CA 94612.

                                  18   Dated: December 9, 2019

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                                                                                     Susan Y. Soong
                                  20                                                 Clerk, United States District Court
                                  21
                                                                                     By: ________________________
                                  22                                                 Mauriona Lee, Deputy Clerk to the
                                                                                     Honorable JON S. TIGAR
                                  23                                                 510-637-3530
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